Case 1:21-cv-11205-FDS   Document 182-35   Filed 01/06/25   Page 1 of 18




                           Exhibit 35
            PGIC's Notice Of Subpoena
          Of A.G. Risk Management, Inc.
                (Exhibits Omitted)
      Case 1:21-cv-11205-FDS              Document 182-35         Filed 01/06/25    Page 2 of 18




                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

 --------------------------------------------------------- x
 SPARTA INSURANCE COMPANY                                  :
 (as successor in interest to Sparta Insurance
 Holdings, Inc.),                                          :

                           Plaintiff,                     :    Civil Action
                                                               No. 21-11205-FDS
        v.                                                :
 PENNSYLVANIA GENERAL INSURANCE                           :
 COMPANY (now known as Pennsylvania
 Insurance Company),                                      :
                           Defendant.
                                                           :
 --------------------------------------------------------- x

                             DEFENDANT’S NOTICE OF SUBPOENA

TO:     Plaintiff SPARTA INSURANCE COMPANY, by and through its counsel of record, James
        R. Carroll (BBO #554426), Christopher G. Clark (BBO #663455), and Catherine A. Fisher
        (BBO #686163) of SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP, 500 Boylston
        Street, Boston, Massachusetts 02116, (617) 573-4800, james.carroll@skadden.com,
        christopher.clark@skadden.com, catherine.fisher@skadden.com.

       Pursuant to Federal Rules of Civil Procedure 34 and 45, Defendant Pennsylvania General
Insurance Company, n/k/a Pennsylvania Insurance Company hereby provides notice that a
subpoena will be served on the following non-party for production of documents at the location
and on the date and time specified below:

 NON-PARTY                                   LOCATION                              DATE/TIME

 A.G. Risk Management                      BOIES SCHILLER FLEXNER LLP              1/3/2023
 1880 John F. Kennedy Blvd.                55 Hudson Yards                         5:00 PM
 Suite 801                                 20th Floor
 Philadelphia, PA 19103                    New York, NY 10001




       A copy of the subpoena is attached to this Notice and incorporated for all purposes. This
subpoena will be served pursuant to Federal Rule of Civil Procedure 45. Additionally, pursuant
to Federal Rule of Civil Procedure 45(g), the non-party may be held in contempt of court if the
       Case 1:21-cv-11205-FDS          Document 182-35          Filed 01/06/25    Page 3 of 18




non-party fails, without adequate excuse, to obey the subpoena served upon the non-party, and that
the non-party has certain legal rights in response to the subpoena served upon said non-party as
outlined in Federal Rule of Civil Procedure 45(c)–(e). 1

    DATED: December 20, 2022                           Respectfully submitted,
                                                       By:   Maxwell V. Pritt
                                                             Maxwell V. Pritt
                                                       Maxwell V. Pritt (admitted pro hac vice)
                                                       mpritt@bsfllp.com
                                                       Reed D. Forbush (admitted pro hac vice)
                                                       rforbush@bsfllp.com
                                                       Erika Nyborg-Burch (admitted pro hac vice)
                                                       enyborg-burch@bsfllp.com
                                                       Mariah J. Noah (admitted pro hac vice)
                                                       mnoah@bsfllp.com
                                                       BOIES SCHILLER FLEXNER LLP
                                                       44 Montgomery Street, 41st Floor
                                                       San Francisco, CA 94104
                                                       Telephone: (415) 293-6800
                                                       Facsimile: (415) 293-6899

                                                       Samuel C. Kaplan (admitted pro hac vice)
                                                       skaplan@bsfllp.com
                                                       BOIES SCHILLER FLEXNER LLP
                                                       1401 New York Avenue, NW
                                                       Washington, DC 20005
                                                       Telephone: (202) 237-2727
                                                       Facsimile: (202) 237-6131

                                                       John F. Dew (BBO #668467)
                                                       jdew@cohenkinne.com
                                                       COHEN, KINNE, VALICENTI & COOK
                                                       28 North Street, 3rd Floor
                                                       Pittsfield, MA 01201
                                                       Telephone: (413) 443-9399
                                                       Facsimile: (413) 442-9399

                                                       Counsel for Defendant Pennsylvania
                                                       General Insurance Company




1
    These rights are set forth in detail at page 3 of the subpoena form served upon the non-party.


                                                   2
    Case 1:21-cv-11205-FDS          Document 182-35         Filed 01/06/25      Page 4 of 18




                                CERTIFICATE OF SERVICE

       I, Lorraine France-Gorn, declare:

       I am a citizen of the United States and employed in the City and County of San
Francisco, CA. I am over the age of 18 and not a party to the within action; my business address
is 44 Montgomery Street, 41st Floor, San Francisco, CA 94104.

       On December 20, 2022, I served the following document(s) described as:

                             DEFENDANT’S NOTICE OF SUBPOENA

BY ELECTRONIC MAIL TRANSMISSION: By electronic mail transmission from lfrance-
gorn@bsfllp.com by transmitting a PDF format copy of such document(s) to each such person at
the e-mail address(es) listed below. The document(s) was/were transmitted by electronic
transmission and such transmission was reported as complete and without error.

               James R. Carroll
               Christopher G. Clark
               Catherine A. Fisher
               SKADDEN, ARPS, SLATE,
               MEAGHER & FLOM LLP
               500 Boylston Street
               Boston, Massachusetts 02116
               (617) 573-4800
               james.carroll@skadden.com
               christopher.clark@skadden.com
               catherine.fisher@skadden.com

               Counsel for Plaintiff
               SPARTA Insurance Company

        I declare that I am employed in the office of a member of the bar of this Court at whose
direction the service was made.

       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

       Executed on December 20, 2022, at San Francisco, California.

                                                     /s/ Lorraine France-Gorn
                                                     Lorraine France-Gorn




                                                3
                Case 1:21-cv-11205-FDS                       Document 182-35                   Filed 01/06/25             Page 5 of 18
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                           District of
                                                       __________      Massachusetts
                                                                    District of __________
            SPARTA INSURANCE COMPANY
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. No. 21-11205-FDS
    PENNSYLVANIA GENERAL INSURANCE                                            )
 COMPANY n/k/a Pennsylvania Insurance Company                                 )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                       A.G. Risk Management, Inc.
                                                 1880 JFK Blvd., Suite 801, Philadelphia PA, 19103
                                                       (Name of person to whom this subpoena is directed)

       ! Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Schedule A



  Place: BOIES SCHILLER FLEXNER LLP                                                     Date and Time:
           55 Hudson Yards, 20th Floor                                                                       01/03/2023 5:00 pm
           New York, NY 10001

        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        12/20/2022

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Maxwell V. Pritt
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Defendant
Pennsylvania General Insurance Company                                   , who issues or requests this subpoena, are:
Maxwell Pritt, 44 Montgomery St., 41st Fl., San Francisco, CA 94104 mpritt@bsfllp.com, (415) 293-6869

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 1:21-cv-11205-FDS                       Document 182-35                  Filed 01/06/25              Page 6 of 18
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. No. 21-11205-FDS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

                I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

                I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                Case 1:21-cv-11205-FDS                          Document 182-35                   Filed 01/06/25               Page 7 of 18
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
    Case 1:21-cv-11205-FDS          Document 182-35         Filed 01/06/25      Page 8 of 18




                                         SCHEDULE A

                                         DEFINITIONS

      1.      “All” should be construed to include the collective as well as the singular and shall
mean “each,” “any,” and “every.”

       2.      “Any” shall be construed to mean “any and all.”

        3.      “Communication(s)” means the transmittal of information (in the form of facts,
ideas, inquiries or otherwise), including without limitation, oral or written communications of any
kind, such as electronic communications, e-mails, facsimiles, telephone communications,
voicemail, written or transcribed correspondence, exchange of written or recorded information,
text messages, instant messages, cloud or app-based messages, or face-to-face meetings. The
phrase “communication between” is defined to include, without limitation, instances where one
party addresses the other party but the other party does not necessarily respond, and instances
where multiple persons received a communication, even if one or more did not respond.
Communication with a party is defined to include, without limitation, communication with
representatives of the party. Communications include Documents.

       4.     “Date” means the exact day, month and year, if ascertainable, or the best available
approximation, including any relationship to other known events (designate whether exact or
approximate).

         5.      “Document(s)” means without limitation, the original and all non-identical copies
of all items subject to discovery under Federal Rule of Civil Procedure 34. This definition
includes, without limitation, letters, correspondence, memoranda, legal pleadings, calendars,
diaries, travel records, summaries, records of telephone conversations, electronic messages in
any form, text messages, instant messages, internet messages, intranet messages, electronic
bulletin board messages, blog entries, website postings of any nature, telegrams, notes, reports,
compilations, notebooks, work papers, graphs, charts, blueprints, books, pamphlets, brochures,
circulars, manuals, instructions, ledgers, drawings, sketches, photographs, videotapes,
audiotapes, film and sound reproductions, e-mails, internal or external web sites, compact discs,
computer files and disks, digital files, agreements, stored recordings, minutes or other records of
meetings, spreadsheets, all written or graphic records or representations of any kind, and all
mechanical or electronic data, records or representations of any kind. Document(s) include(s)
Communication(s).

        6.      The term “Person” or “Persons” is defined to mean any natural person,
corporation, or partnership, proprietorship, joint venture, or any business, legal, or government
entity, organization, or association.

       7.       “Agent” shall mean any agent, employee, officer, director, attorney, independent
contractor, or any other person acting, or purporting to act, at the direction of or on behalf of
another.


                                                1
    Case 1:21-cv-11205-FDS           Document 182-35         Filed 01/06/25     Page 9 of 18




        8.     “Concerning” means relating to, referring to, describing, evidencing, or
constituting. A Document may concern a specific Person whether or not it mentions that Person
by name.

        9.      “Copy” when it refers to an agreement shall encompass the agreement and all
attachments to the agreement and all documents required to be submitted or otherwise exchanged
at closing or as a precondition of the closing or consummation of that agreement.

        10.    The terms “including,” “include,” or “includes” are used in their broadest sense
and are not meant to be limiting. Any list following these terms contains illustrative examples of
the types of documents responsive to the Request, but the list is without limitation and does not
constitute an exclusive, all-encompassing, or exhaustive listing of every type of document
responsive to the Request.

       11.      “Or” and “and” should be construed so as to require the broadest possible
response. If, for example, a request calls for information about “A or B” or “A and B,” You should
produce all information about A and all information about B, as well as all information about A
and B collectively. In other words, “or” and “and” should be read as “and/or.”

       12.     “Relating to,” means, without limitation, the following concepts: concerning,
discussing, describing, reflecting, dealing with, pertaining to, analyzing, evaluating, referencing,
mentioning, estimating, constituting, studying, surveying, projecting, assessing, recording,
summarizing, criticizing, reporting, commenting, or otherwise involving, in whole or in part.

        13.    “You” and “Your” means A.G. Risk Management, f/k/a Armour Risk
Management Inc., and any affiliates, subsidiaries, related parties, related companies, corporate
parents, successors, and predecessors, together with all present and former directors, officers,
employees, agents, attorneys, representatives, partners, or any persons acting or purporting to act
on its behalf.

       14.     “OBIC” and “Bedivere” means OneBeacon Insurance Company (“OBIC”), n/k/a
Bedivere Insurance Company (“Bedivere”), and any related parties, related companies, and
successors, together with all present and former directors, officers, employees, agents, attorneys,
representatives, partners, or any persons acting or purporting to act on its behalf.

       15.      “SPARTA” means SPARTA Insurance Company and SPARTA Insurance
Holdings and any related parties, related companies, corporate parents, and successors, together
with all present and former directors, officers, employees, agents, attorneys, representatives,
partners, or any persons acting or purporting to act on its behalf.

       16.     “PGIC” or “Defendant” means Pennsylvania General Insurance Company, n/k/a
Pennsylvania Insurance Company and any related parties, related companies, and successors,
together with all present and former directors, officers, employees, agents, attorneys,
representatives, partners, or any persons acting or purporting to act on its behalf.




                                                 2
   Case 1:21-cv-11205-FDS           Document 182-35         Filed 01/06/25      Page 10 of 18




        17.    “AEIC” means American Employers’ Insurance Company and all present and
former directors, officers, employees, agents, attorneys, representatives, partners, or any persons
acting or purporting to act on its behalf.

        18.  “OBIG” means OneBeacon Insurance Group Ltd., and any related parties, related
companies, parents, and successors, together with all present and former directors, officers,
employees, agents, attorneys, representatives, or any persons acting or purporting to act on its
behalf.

       19.     “AEIC Claim(s)” means any claim of any kind by any party to a policy or other
contract with American Employers’ Insurance Company issued before 2007, or any successor or
assignee asserting a right under that policy or contract.

        20.    “OBIG Subsidiaries” refers to the current or former subsidiaries or affiliates of
OBIG between 2001 to today, including but not limited to OBIC, AEIC, PGIC, American Central
Insurance Company (n/k/a Essentia Insurance Company), OneBeacon American Insurance
Company, The Employer’s Fire Insurance Company, The Northern Assurance Company of
America, Homeland Insurance Company of New York, AutoOne Insurance Company, AutoOne
Select Insurance Company, and Atlantic Specialty Insurance Company.

        21.    “NAC” means the North American Casualty, Co. and any related parties, related
companies, corporate parents, and successors, together with all present and former directors,
officers, employees, agents, attorneys, representatives, partners, or any persons acting or
purporting to act on its behalf.

        22.      “Armour” means Armour Group Holdings Ltd., and any affiliates, subsidiaries,
related parties, related companies, corporate parents, and successors, together with all present and
former directors, officers, employees, agents, attorneys, representatives, partners, or any persons
acting or purporting to act on its behalf.

      23.   “2007 Stock Purchase Agreement,” refers to the 2007 stock purchase agreement
between SPARTA, PGIC, and OBIC for the purchase of AEIC, attached as Exhibit A.

      24.     “2005 Reinsurance Agreement” refers to the 2005 agreement between PGIC and
AEIC, attached as Exhibit B.

      25.   “2012 Stock Purchase Agreement,” refers to the 2012 stock purchase agreement
between OBIG and NAC for the purchase of PGIC as a clean shell.

      26.     “2012 Transfer and Assumption Agreement” refers to the 2012 agreement
between PGIC and OBIC that transferred PGIC’s liabilities from PGIC to OBIC to facilitate
PGIC’s sale as a clean shell to NAC, attached as Exhibit C.

       27.      “OBIC Sale Agreement” refers to the agreement to sell OneBeacon Insurance
Company to Armour Group Holdings Ltd. or any other party together with all attachments,
disclosures, closing documents, and related regulatory approvals.



                                                 3
   Case 1:21-cv-11205-FDS          Document 182-35         Filed 01/06/25      Page 11 of 18




       28.    “Intercompany Pooling Agreement” refers to the series of agreements among
OBIG subsidiaries and affiliates that first became effective on January 1, 2001, and was
subsequently amended, including in January 2004, October 2011, January 2012, February 2021,
and April 2021, including as referenced on pages 8-9 of Exhibit D.

       29.     “Regulatory Approval” refers to the required submissions to state insurance
departments, including the Massachusetts Division of Insurance and the Pennsylvania Insurance
Department, for approval of sales, transfers, assumptions, reinsurance, and other legal
agreements between insurance companies operating in the state.

       30.    “Third Party Administrator” or “TPA” refers to a party that has agreed to
administer AEIC Claims.

                                       INSTRUCTIONS

           1. This request calls for the production of all responsive documents in Your
possession, custody, or control that are available to You from any source, wherever situated,
including any of Your present or former affiliates, subsidiaries, officers, directors, members,
employees, agents, representatives, attorneys, or financial advisors.

            2. You are instructed to produce documents as they are kept in the usual course of
business.

           3. The scope of Your search for electronic data that is responsive to any document
request shall include all forms of electronic data collection, preservation, transmission,
communication and storage, including all data generated and maintained in the ordinary course of
business stored by You or any third parties on or in:

               a.     Local and network computers and storage devices;

               b.     Distributed, removable, or portable data, i.e., information which resides on
                      portable media and non-local devices, including home computers, laptop
                      computers, magnetic or floppy discs, CD-ROMs, DVDs, solid-state and
                      flash memory drives, cloud storage or other internet repositories (including
                      e-mail hosted by web services such as Gmail), and handheld storage devices
                      such as smart phones, tablets, and iPads;

               c.     Text messaging systems, including iMessage and SMS.

               d.     Voicemail and email systems, alternative communication and messaging
                      systems, file and print servers, and fax servers;

               e.     Legacy data, i.e., retained data that has been created or stored by the use of
                      software or hardware that has been rendered outmoded or obsolete; and




                                                4
   Case 1:21-cv-11205-FDS            Document 182-35         Filed 01/06/25      Page 12 of 18




               f.      Metadata, i.e., information regarding a particular data set which describes
                       how, when and by whom it was collected, created, accessed, and modified
                       and how it is formatted.

           4. All documents and communications should be Bates labeled, and should be
produced in single page TIFF images (except that excel spreadsheets and other such file types that
include logical formulae or files that, when converted to image format, take on an appearance
noticeably different from the one the running-native file took when viewed on a computer screen,
should be produced in native, with a “nativelink” file) with extracted text or OCR at the document
level and with the following load files: LEP, OPT and DAT. All metadata should be provided,
including the following: BEGDOC, ENDDOC, BEGATTACH, ENDATTACH, Page Count,
Author, To, Cc, Bcc, Custodian, Date Sent, Time Sent, Subject, File Name, Date Last Modified,
MD5Hash and NATIVELINK (link to native on media if applicable).

           5. Selection of documents from files and other sources and the numbering of such
documents shall be performed in such a manner as to ensure that the source of each document may
be determined, if necessary.

            6. In addition to original and final versions of documents, all drafts, alterations,
modifications, changes, and amendments of documents shall be produced, as well as copies non-
identical to the original in any respect, including any copy bearing non-identical marking or
notations of any kind.

           7. Every document produced pursuant to this request shall be produced in its entirety,
including all attachments and documents affixed thereto.

            8. If You are unable to answer or respond fully to any request, answer or respond to
the extent possible and specify the reasons for Your inability to answer or respond in full. If You
have no documents responsive to a particular request, so state.

           9. If You object to any request set forth herein, state the specific grounds upon which
You object and produce all documents responsive to request to which there is no objection.

            10. To the extent You contend You are entitled to withhold from production any
document responsive to any request set forth herein based on the assertion of attorney-client
privilege, the attorney work-product doctrine or any other privilege, you must identify the specific
basis of such assertion of privilege and Defendant hereby requests a meet and confer to discuss the
scope of the privilege review, the amount of information to be set out in the privilege log, the use
of categories to reduce document-by-document logging, whether any categories may be excluded
from the logging requirement and any other issues pertinent to Your review. Please let us know
when You are available for this meet and confer as promptly as possible.

            11. If a portion of an otherwise responsive document contains information subject to a
claim of privilege, those portions of the document subject to the claim of privilege shall be redacted
from the document and the rest of the document shall be produced.




                                                  5
   Case 1:21-cv-11205-FDS           Document 182-35        Filed 01/06/25      Page 13 of 18




           12. For any responsive document of which You are aware existed at one time, but no
longer exists, or was once, but is no longer, within Your possession, custody, or control, describe
fully each document, the circumstances under which the document ceased to exist or left Your
possession, and identify the requests(s) to which the document was responsive.

           13. Unless instructed otherwise, each request shall be construed independently and not
by reference to any other request for the purpose of limitation.

            14. These requests shall not be construed as a waiver or abridgment of, and are not
intended to waive, any argument or defense, or objection to any discovery requests to Defendant,
nor shall they be construed as an admission of any fact.

           15. This is a continuing request for production of documents, in accordance with Rule
26 of the Federal Rules of Civil Procedure and Rule 26.5 of the Local Rules of the United States
District Court for the District of Massachusetts, and if any additional documents are received or
discovered after the initial production, all such further documents shall be produced as they are
received or discovered.

           16. The use of the singular form of any word includes the plural and vice-versa.

           17. The use of the past tense includes the present tense and vice versa, as necessary to
bring within the scope of each request all responses that might otherwise be considered outside its
scope. Whenever a term is used herein in the present, past, future, subjunctive, or other tense,
voice, or mood, it shall also be construed to include all other tenses, voices, or moods.

           18. Unless otherwise specified, the Requests will relate to the time period beginning
January 1, 2005, and continuing to the present.

                                  DOCUMENT REQUESTS
Request No. 1

        A copy of all agreements to which You and AEIC and/or SPARTA are or have been
parties between 2001 and the present.

Request No. 2

        A copy of all agreements to which You and OBIC and/or Bedivere are or have been
parties between 2001 and the present.

Request No. 3

       A copy of all agreements to which You and OBIG or any other company in the OBIG
family are or have been parties between 2001 and the present.




                                                6
   Case 1:21-cv-11205-FDS          Document 182-35        Filed 01/06/25     Page 14 of 18




Request No. 4

       A copy of all agreements to which You and PGIC are or have been parties between 2001
and 2012.

Request No. 5

      A copy of all other agreements to which You are or have been a party concerning AEIC,
AEIC policyholders, or AEIC Claims between 2001 and the present.

Request No. 6

       All Communications between You and PGIC between 2001 and the present.

Request No. 7

       All Documents concerning the 2005 Reinsurance Agreement.

Request No. 8

       All Documents concerning the 2007 Stock Purchase Agreement or the sale of AEIC.

Request No. 9

       All Documents concerning the 2012 Transfer and Assumption Agreement.

Request No. 10

       All Documents concerning the 2012 Stock Purchase Agreement or sale of PGIC.

Request No. 11

       All Documents concerning the OBIC Sale Agreement.

Request No. 12

       All Documents relating to PGIC.

Request No. 13

       All Communications with OBIC, OBIG, or any other OBIG Subsidiaries relating to
proposed or actual amendments, alterations, or other changes to the administration or payment of
AEIC Claims between 2002 and the present.

Request No. 14

        All Communications with SPARTA relating to proposed or actual amendments,
alterations, or other changes to the administration or payment of AEIC Claims between 2002 and
the present.


                                               7
   Case 1:21-cv-11205-FDS          Document 182-35         Filed 01/06/25     Page 15 of 18




Request No. 15

         All Documents that You prepared, reviewed, or otherwise received relating to the 2014
OBIC Sale Agreement, including but not limited to the negotiation, execution, interpretation,
implementation, and Regulatory Approval of that agreement or any portion of it, and to any
related risk assessment, analysis, deliberations, or decision-making concerning that agreement or
the decision to pursue it.

Request No. 16

        All Documents that You prepared, reviewed, or otherwise received relating to any plan or
strategy for Armour to purchase OBIC.
Request No. 17

        Documents sufficient to show the process by which You received AEIC Claims in every
year from 2005 through 2021, including but not limited to (i) representative examples of the
underlying AEIC policies for which claims were made in the particular year, (ii) the full claims
and correspondence files for those policies, and (iii) all communications requesting
administration, handling, and payment of claims. The selection of representative policies and
associated Documents should reflect any material variation in the year in how claims were
tendered including as to the identity of the submitter and whether they were submitted directly
by policyholders, by SPARTA, or by another entity.

Request No. 18

        Documents sufficient to show the process for the administration and payment of AEIC
Claims in every year from 2005 to 2021, including but not limited to (i) representative examples
of the underlying AEIC policies for which claims were made in the particular year, (ii) the full
claims and correspondence files for those policies, and (iii) all Documents relating to the
administration, handling, and payment of the tendered claims. The selection of representative
policies and associated Documents should reflect any material variation in the year in how
claims were administered, handled, processed, or paid, including as to the identity of the
submitter and the identity of the entity who paid the claims.

Request No. 19

       Documents sufficient to show any steps You took to administer or pay any claims made
pursuant to AEIC policies in every year from 2005 to 2021.

Request No. 20

       All Documents concerning any tracking of receipt, payment or administration of AEIC
Claims.




                                                8
   Case 1:21-cv-11205-FDS           Document 182-35        Filed 01/06/25      Page 16 of 18




Request No. 21

       All Documents relating to the magnitude of potential, expected, or actual liabilities for
AEIC Claims or any subset of AEIC Claims, whether or not encompassing claims already paid
and excluding individual assessments of individual claims.

Request No. 22

       All Documents relating to the liquidation of Bedivere concerning SPARTA, PGIC, NAC,
AEIC, AEIC policyholders, or AEIC Claims, including but not limited to Communications with
SPARTA, PGIC, NAC, and/or AEIC policyholders and all other Communications relating to the
impact of the liquidation on the processing or payment of AEIC Claims.

Request No. 23

       All Documents relating to, referencing, or otherwise concerning the Intercompany
Pooling Agreement.



Dated: December 20, 2022                             By:    /s/ Maxwell V. Pritt
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                                                9
Case 1:21-cv-11205-FDS   Document 182-35    Filed 01/06/25    Page 17 of 18




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                                  10
Case 1:21-cv-11205-FDS   Document 182-35   Filed 01/06/25   Page 18 of 18




                     Exhibits Omitted
